               Case 1:20-cv-03590-JEB Document 230 Filed 01/09/23 Page 1 of 4




                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


       FEDERAL TRADE COMMISSION,
                                                               Case No.
                                Plaintiff,                     1:20-cv-03590 (JEB)

                       - v. -

       META PLATFORMS, INC.,

                                Defendant.


           MOTION TO WITHDRAW AS COUNSEL; [PROPOSED] ORDER THEREON

             Kenneth R. O’Rourke of Wilson Sonsini Goodrich & Rosati (“Wilson Sonsini”), former

      counsel for non-party Twitter Inc. (“Twitter”), respectfully moves the Court to permit him to

      withdraw as attorney of record for Twitter for all proceedings in this matter pursuant to Local Civil

      Rule 83.6.

 I.      FACTUAL AND PROCEDURAL HISTORY

             On March 16, 2022, Kenneth R. O’Rourke filed a notice of appearance as attorney of record

      for non-party Twitter. (Dkt. 123).

             On December 19, 2022, Mr. Peter Joseph Mucchetti, Esq. of Clifford Chance U.S. LLP,

      filed a notice of appearance as attorney of record for non-party Twitter. (Dkt. 228).

II.      REQUEST FOR RELIEF

             In light of Mr. Mucchetti’s notice of appearance, and in the interest of ensuring that the

      Court has an accurate record of who is representing Twitter (since neither Mr. O’Rourke nor

      Wilson Sonsini continue to represent Twitter in this matter), Mr. O’Rourke respectfully moves the

      Court to grant permission to withdraw as attorney for Twitter for all proceedings herein and to


                                                       1
             Case 1:20-cv-03590-JEB Document 230 Filed 01/09/23 Page 2 of 4




have the Clerk requested to remove Mr. O’Rourke’s name from the CM/ECF service list for this

matter. Mr. O’Rourke’s withdrawal will not occasion a request for an extension of deadlines in

this case.



Dated: January 9, 2023                            Respectfully Submitted,


                                               By: /s/ Kenneth R. O’Rourke_________
                                                  Kenneth R. O’Rourke (DC Bar No: 1613849)
                                                  WILSON SONSINI GOODRICH & ROSATI
                                                  1700 K Street NW, 5th Floor
                                                  Washington, DC 20006
                                                  Telephone: (202) 973-8800
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                                              2
             Case 1:20-cv-03590-JEB Document 230 Filed 01/09/23 Page 3 of 4




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,
                                                         Case No.
                          Plaintiff,                     1:20-cv-03590 (JEB)

                 - v. -

 META PLATFORMS, INC.,

                          Defendant.


                                         [PROPOSED] ORDER


       BEFORE THE COURT is Petitioner’s Motion to Withdraw as Counsel (“Motion”). The Court,

having reviewed the Motion and good cause appearing therefore, finds that the motion is warranted and

is hereby GRANTED. Mr. Kenneth R. O’Rourke of Wilson Sonsini Goodrich & Rosati is withdrawn as

attorney of record for non-party Twitter Inc. in these proceedings. The Clerk is directed to enter this Order

and remove Mr. O’Rourke from the CM/ECF service list for this case.



IT IS HEREBY ORDERED.


       Date: January __, 2023


                                                                                   JAMES E. BOASBERG
                                                                               United States District Judge




                                                     3
             Case 1:20-cv-03590-JEB Document 230 Filed 01/09/23 Page 4 of 4




                                    CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2023, I caused the foregoing document to be electronically

submitted with the Clerk of the Court for the United States District Court, District of Columbia, using the

CM/ECF system.

                                             By: /s/ Kenneth R. O’Rourke_________
                                             Kenneth R. O’Rourke (DC Bar No: 1613849)




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